  Case 15-50453                 Doc 31      Filed 07/31/17 Entered 07/31/17 13:39:13      Desc Main
                                               Document Page 1 of 1
      FILED & JUDGMENT ENTERED
                Steven T. Salata




            July 31 2017


        Clerk, U.S. Bankruptcy Court
       Western District of North Carolina
                                                                           _____________________________
                                                                                     Laura T. Beyer
                                                                             United States Bankruptcy Judge




                                    UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF NORTH CAROLINA
                                          STATESVILLE DIVISION


 IN RE:
                                                                         Chapter 13
 Ferdinand Roman                                                          15-50453


                          ORDER ON MOTION TO SUBSITUTE LEGAL COUNSEL
                                    and MOTION TO WITHDRAW

THIS CAUSE being set for hearing before the United States Bankruptcy Court and with no response
having been filed, it appears to the Court that it should be granted,

IT IS THEREFORE ORDERED:

    1. That Danielle J. Brudi and Collum & Perry, PLLC are no longer counsel of record for Mr.
       Roman;

    2. That Danielle J. Brudi and Collum & Perry, PLLC, be fully discharged of any further
       responsibility for representing Mr. Roman;

    3. That Melissa S. Groff and the Groff Law Firm, PLLC be substituted in as counsel for Mr. Roman;

    4. That Melissa S. Groff be granted a non-base legal fee of $500.00 and $24.79 in costs, with said
       fees to be paid by the Trustee through the Plan; and

    5. For other such relief as the Court shall deem just and proper.




This Order has been signed electronically.                              United States Bankruptcy Court
The judge’s signature and court’s seal
appear at the top of the Order.
